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             IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION




HALA FARID,

                 Plaintiff,

v.                                             CASE NO. 4:12cv621-RH/CAS

PATRICK R. DONAHOE,
POSTMASTER GENERAL,
UNITED STATES POSTAL SERVICE,

                 Defendant.

__________________________________/


                     ORDER GRANTING SUMMARY JUDGMENT


        This is an employment-discrimination case. The plaintiff Hala Farid, a

Postal Service letter carrier, asserts a multitude of claims. The case is a paradigm

of substantive and procedural deficiencies that the Eleventh Circuit has railed

against, time and again.

        First, Ms. Farid asks the court to sit as a super-personnel department. See,

e.g., Chapman v. A1 Transport, 229 F.3d 1012, 1030 (11th Cir. 2000); Elrod v.

Sears, Roebuck & Co., 939 F.2d 1466, 1470 (11th Cir. 1991). She raises petty

complaints too numerous to count. She also raises more significant matters. The

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petty complaints could properly be addressed through the union grievance process,

if at all. Neither the petty complaints nor the more significant assertions show

discrimination of the kind prohibited by the civil-rights statutes.

        Second, Ms. Farid travels on a shotgun pleading and has yet to set out her

claims in an understandable way, even after having been ordered to provide

specific information that would have facilitated analysis of the claims. See, e.g.,

Paylor v. Hartford Fire Ins. Co., 748 F.3d 1117, 1125-26 (11th Cir. 2014)

(decrying shotgun pleadings and collecting earlier cases doing the same).

        This order grants the defendant Postmaster General’s summary-judgment

motion.

                                           I

        Ms. Farid began work for the Postal Service in 2005. She submitted literally

hundreds of grievances. In her deposition, she testified that when she was

dissatisfied with the outcome on a grievance, she submitted an EEO complaint,

using the EEO process to appeal the unsatisfactory grievance outcome. ECF No.

22-1 at 21. The record confirms that that was indeed her approach.

        Ms. Farid’s amended complaint set out a series of allegations that it then

incorporated in full into each of four separate counts. The counts alleged

violations of the Americans with Disabilities Act and Title VII of the Civil Rights

Act of 1964—more specifically, disability discrimination, national-origin



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discrimination, race discrimination, and retaliation for complaining about

disability, national-origin, and race discrimination. The amended complaint made

no attempt to sort the factual allegations by the counts to which they related.

        Nor did Ms. Farid sufficiently clarify her claims during discovery or in

response to the Postmaster General’s summary-judgment motion. Faced with an

impenetrable jumble of disjointed allegations, some administratively exhausted and

some not, and after an unsuccessful effort to sort it out at oral argument, I entered

an order requiring Ms. Farid to provide specific information.

        Many of Ms. Farid’s claims were trivial; they did not involve adverse

employment actions and were not otherwise actionable. But at least two categories

of claims did allege adverse employment actions. Ms. Farid claimed that her pay

was shorted—that she was not paid the full amount due for the routes she carried

or work she performed. And she claimed she was denied promotions. It was not

clear, though, what Ms. Farid really claimed—when she was underpaid, what

promotions she was denied, and whether any specific claim was administratively

exhausted or included in the amended complaint. A proper complaint and

summary-judgment response would list the shorted pay and missed promotions,

but Ms. Farid’s amended complaint and summary-judgment response did not do

so.




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        I probably could and should have granted summary judgment at that point.

See Fed. R. Civ. P. 56(c)(3) (providing that on a summary-judgment motion, a

court need not consider materials that are not cited); Fed. R. Civ. P. 56(e)

(providing that when a party opposing summary judgment fails to properly address

another party’s assertion of fact, the court may consider the fact undisputed for

purposes of the motion). But I gave Ms. Farid another opportunity to provide the

missing information. I directed Ms. Farid to file the following:

             (1) For each alleged underpayment of wages,

                     (a) the date of the underpayment and work days it covered,

                     (b) the amount underpaid,

                     (c) each date when all or part of the underpayment was corrected,

                     (d) the amount still owed,

                     (e) any explanation of the underpayment by the Postal Service
                         shown in the record, and

                     (f) any explanation of the underpayment by Ms. Farid shown in the
                         record,

                     (g) a citation to the record (by ECF number and page) showing
                        exhaustion of the claim, and

                     (h) a citation to the complaint (by paragraph number) showing that
                        the claim was asserted in this action.

             (2) For each promotion or route Ms. Farid allegedly was denied,

                     (a) the position or route number or comparable identifier,



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                     (b) the date when the position or route was filled,

                     (c) the person who obtained the position or route,

                     (d) the difference obtaining the promotion or route would have
                        made to Ms. Farid in pay or other terms and conditions of
                        employment,

                     (e) in 50 words or fewer, Ms. Farid’s argument on what the Postal
                         Service did wrong,

                     (f) a citation to the record (by ECF number and page) showing
                         exhaustion of the claim, and

                     (g) a citation to the complaint (by paragraph number) showing that
                        the claim was properly pleaded.

ECF No. 39 at 1-3. In response, Ms. Farid did not provide the specified

information. Instead, she tendered more evidence—even though the deadline for

filing evidence had long passed—and, without saying so, in effect invited me to

figure out for myself the information I had asked Ms. Farid to provide.

                                               II

        The overall tenor of Ms. Farid’s claims is shown by two examples.

        First, Ms. Farid says that while on light duty as a result of asserted injuries, a

supervisor asked her to check the windows and doors of postal vehicles in the

parking lot to ensure they were locked. This did not exceed Ms. Farid’s medical

limitations, but she says this was work properly done by a supervisor, not an

employee at Ms. Farid’s level. Ms. Farid says she should not have been asked to




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do this task at all and that, because she did it, she should have received

supervisor’s pay.

        Second, Ms. Farid says a supervisor filed a false report that made Ms. Farid

look bad. What happened was this. A bat flew into the post office. Ms. Farid and

others hurried to get away from the bat. An employee swung a door into Ms.

Farid, causing a bruise. A supervisor prepared a report of the incident on the

appropriate form. Ms. Farid believed the employee who swung the door should be

listed on the form’s space for a “third party.” At Ms. Farid’s insistence, this was

done. But on further consideration, the supervisor concluded that a “third party”

was someone not employed by the Postal Service and so removed the employee’s

name from the report. Ms. Farid now accuses the supervisor of filing a fraudulent

report.

        Perhaps an employee should not be required to check doors and windows.

Perhaps an employee should be able to direct a supervisor on how to fill out a

report. But few employers would allow an employee that level of control. More

importantly, petty complaints of this kind come nowhere close to a violation of

Title VII or the Americans with Disabilities Act. And they do not suggest

discrimination or retaliation.




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                                          III

        On the Postmaster General’s summary-judgment motion, disputes in the

evidence must be resolved, and all reasonable inferences from the evidence must

be drawn, in favor of Ms. Farid, as the nonmoving party. This section sets out the

facts that way, attempting to bring some order to the jumble of facts that are most

relevant to Ms. Farid’s multitude of claims.

        Ms. Farid has worked for the Postal Service in Tallahassee since 2005,

always as a rural carrier. She identifies her race as white and her national origin as

Egyptian.

        2007-2009. In 2007 Ms. Farid was injured in an automobile crash while

delivering mail. A doctor diagnosed Ms. Farid with a concussion and placed her

on work restrictions. See, e.g., ECF No. 25-18 at 2 (limiting her work to one four-

hour shift per day).

        2009. In May 2009, Ms. Farid wrote to the Postal Service that she would be

released by her doctor on May 22, 2009, and was looking forward to going back to

work full time. She also asked to be promoted to a 204b position—a role with

higher status and pay in which an employee may serve as supervisor on the floor

when management schedules the employee to do so.

        At some point, Ms. Farid was cleared to work eight hours with some

restrictions (no lifting or driving with a headache). See ECF No. 22-1 at 7



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(deposition page 22). The precise date is unknown, but it may have been in May

2009. Regardless, by August 2009, it appears that Ms. Farid was again limited to

working no more than four hours a day. See ECF No. 26-1 at 2.

        Ms. Farid says that while she was on limited duty, the Postal Service

required her and other limited-duty workers to sit in a cold, empty warehouse and

that she was prohibited from talking or eating. This is not mentioned in the

amended complaint or EEO charges. Ms. Farid says that due to her prolonged

sitting, she went to the hospital on December 12, 2009. A doctor wrote a note that

Ms. Farid was restricted from lifting any weight and could not return to work until

December 16, 2009. The note stated that after December 16, 2009, Ms. Farid

“should be able to participate fully in all work duties.” ECF No. 22-3 at 2.

        January 2010. Ms. Farid complained that one of her supervisors—Paul

Jones, an African-American—returned her to full duty beginning on January 6,

2010. See ECF No. 27-24 at 12. This included delivering the mail on regular

routes. Ms. Farid complained several times that returning to full duty violated her

regular doctor’s work restrictions. Ms. Farid says that Mr. Jones became angry

and yelled at Ms. Farid that she should go home if she didn’t know how to do her

job—that he had other people who could do it for her. See id. at 12-13. Other

employees witnessed Mr. Jones yelling at Ms. Farid. Ms. Farid worked the routes

as she was required in January, working several days in excess of eight hours with



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Mr. Jones yelling at her for complaining about headaches or not finishing all the

work he gave her on time. See ECF No. 27-1 at 19 (listing several days in January

and February that Ms. Farid complained that she was forced to work more than

eight hours).

        Ms. Farid’s doctor completed a work-restriction form and a light-duty status

report on January 15, 2010. See ECF No. 22-4; 26-3. The form stated that Ms.

Farid needed to be on light duty, limited her ability to lift more than ten pounds,

and limited her total work hours to eight per day, six days a week. It also stated

that Ms. Farid could not drive with a headache. This form may not have been sent

to Mr. Jones until February 3, 2010—see ECF No. 26-3 at 2—but the Postmaster

General admits that someone at the Postal Service may have received it on January

15, 2010—see ECF No. 22 at 7-8. Nonetheless, Ms. Farid claims that the Postal

Service worked her more than eight hours daily several times during January 2010.

        Ms. Farid also claims that Mr. Jones routinely did not pay her appropriately.

She states that Mr. Jones reduced the hours she actually worked, refused to pay her

overtime, or otherwise paid her improperly. In one instance, Mr. Jones asked T.J.

Sparks, one of Ms. Farid’s coworkers, to switch routes with Ms. Farid because Ms.

Farid was unfamiliar with the route she had been assigned. Despite the switch, Ms.

Sparks was paid to work the route Ms. Farid actually worked, which was the

higher paid route.



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        On January 29, 2010, Ms. Farid contacted an EEO dispute resolution

specialist.

        February 2010. Ms. Farid met with the EEO specialist on February 17,

2010, and reported that she was being discriminated against because she was being

underpaid, humiliated and threatened, and forced to work outside of her work

limitations.

        On February 18, 2010, Ms. Farid submitted a written request to return to

light duty due to her doctor’s medical restrictions. ECF No. 24-3. On February

24, 2010, she was given a modified-assignment offer to “case” the mail (that is,

sort it by address) and deliver rural routes as needed and to perform other

administrative duties. See ECF No. 26-14. The offer limited her time performing

the tasks to one to eight hours and said that she would not lift more than 10 pounds

nor drive with a reported headache. Ms. Farid accepted the offer only if her doctor

approved it. See id. She sent a letter the same day requesting to not be assigned

delivering the mail because of her medical restrictions. See ECF No. 26-18. She

also wrote that she verbally requested limited duty December 16, 2009, and

January 2, 2010.

        Ms. Farid sent a letter on February 27, 2010, stating that she had not yet

gotten her work assignment approved and thus should still be assigned work

according to her last modified assignment offer proposing limited duty. See ECF



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No. 26-19. She also sent a letter the same day requesting as a reasonable

accommodation that she not be assigned to deliver mail on any routes. See ECF

No. 22-7. She complained that her new modified assignment offer was not a

limited job offer because she could not carry the mail within her medical

restrictions. She also filed a grievance with the union complaining that she should

not have to perform the work until she had an opportunity to get her doctor’s

permission. See ECF No. 24-29 (denying the grievance on March 2, 2013).

        During one week that ran from the end of February until early March,

Andrea Weatherspoon—an African American supervisor—asked Ms. Farid to

check the doors and windows of all the Postal Service delivery vehicles to make

certain they were locked. Ms. Farid complained that she was singled out to do this

work because it was cold outside and that it was supervisor’s work that Ms.

Weatherspoon should be doing. Ms. Farid also complained that it violated her

work restrictions. Finally, Ms. Farid complained that she was not paid at a

supervisor’s rate during the limited time that she performed this work.

        The record shows, however, that it was normal for a supervisor to ask a

carrier, clerk, or “anyone” to perform supervisory work, such as checking on the

doors and windows of Postal Service vehicles at night. ECF No. 27-27 at 44. A

supervisor also said that “[t]here’s no such thing” as getting higher pay for the

limited amount of time an employee spends working on supervisory tasks. Id.



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This is because “once you go on the higher pay, you are getting higher pay for the

entire day.” Id.

        March 2010. On March 9, 2010, a bat flew into the post office. Ms. Farid

and several other employees were running from the bat. One employee, Tammee

Davis, was exiting a door and slammed it into Ms. Farid’s chest. Ms. Davis

apparently does not dispute that she injured Ms. Farid, though evidence of this is

an unsworn written statement. See ECF No. 27-19. A doctor diagnosed Ms. Farid

with a contused chest. The doctor released Ms. Farid to “regular work” the

following day. See ECF Nos. 26-4, 27-15.

        Ms. Weatherspoon wrote a report to be filed with the Department of Labor.

Ms. Farid was upset that the report made it seem like she injured herself. She

made Ms. Weatherspoon write Ms. Davis’s name on the form as the third party

who injured Ms. Farid. Ms. Farid then signed the form. See ECF No. 27-18. Ms.

Farid testified that she overheard Ms. Weatherspoon on a conference call with the

Postmaster about the incident and that the Postmaster was telling Ms.

Weatherspoon how he wanted the incident report written up. See ECF No. 27-24

at 17 (¶ 33). Ms. Weatherspoon denied that she was on a conference call with the

Postmaster about this incident. See ECF No. 22-17 at 4.

        Ms. Farid later learned that the form Ms. Weatherspoon sent to the

Department of Labor had “white out” over Ms. Davis’s name. See ECF No. 22-23.



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Ms. Farid complained that Ms. Weatherspoon falsified forms and tried to make her

look bad by putting papers in her employee file that suggest she injures herself.

The Postmaster General apparently admits that Ms. Weatherspoon removed Ms.

Davis’s name from the form. See ECF No. 22 at 10. Ms. Weatherspoon testified

that Ms. Davis could not be a third party because she was a coworker and only

people outside the office could be third parties. See id.

        Ms. Weatherspoon did not otherwise indicate Ms. Davis’s involvement in

the accident on the form, and she did not submit to the Department statements from

Ms. Farid and Ms. Davis about the incident. Ms. Farid’s worker’s compensation

claim was denied. Ms. Farid testified that she resubmitted the paperwork with Ms.

Davis’s name included and the statements about the incident. Her claim was then

approved.

        On March 11, 2010, the union and Postal Service management agreed that

Ms. Farid’s limited-duty job offer would be rewritten without delivery duties as a

part of the offer. On March 31, 2010, Ms. Farid signed a new limited-duty job

offer that said her duties would be “[s]itting.” ECF No. 22-8 at 2-3.

        April 2010. On April 29, 2010, Ms. Farid filed a formal EEO charge (this

was combined with her earlier charges from January). Ms. Farid claimed race,

national-origin, and physical-disability discrimination, as well as retaliation for

contacting the EEO in January and February. She listed 15 complaints, but many



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were duplicative. See ECF No. 25-13 (complaining that: (1) her injury-report

records from the bat incident were falsified and false information was given to the

Department of Labor; (2) her supervisors forced her to perform work outside her

doctor’s restrictions, including the types of work performed and the length of hours

she was required to work; (3) she was reported on a district-manager report for

taking too long with her shift while she was improperly exceeding her doctor’s

restrictions; (4) she was being paid improperly; (5) she was treated differently than

other limited-duty employees; (6) she was not given reasonable accommodations

when she asked for them; (7) she was taken advantage of by being asked to do

supervisor’s work without receiving supervisor’s pay for it; (8) she felt that she

was being treated worse after filing her first EEO charge than before; and (9) she

had to do clerk’s work, which was the subject of a then-pending clerk craft union

grievance).

        In two EEO investigative affidavits dated June and July 2010, Ms. Farid also

wrote that she wasn’t being considered for supervisory positions because of her

national origin and that management was taking advantage of her. See ECF Nos.

22-12 at 17, 22-12 at 7.

        October 2010. Ms. Farid was not scheduled for any hours the first week of

October. Following this week, Ms. Farid’s doctor released her to return to full

duty. A supervisor, Mr. Jones, scheduled Ms. Farid for driver’s training on



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October 18, 2010. But according to Ms. Farid, Mr. Jones never told Ms. Farid

where and when to report for training. Ms. Farid tried to contact Mr. Jones by

phone and email. He never responded.

        Ms. Farid was contacted the morning of her training after her training had

already started. She reported to training late. A supervisor showed up to give her

an “absent without leave” form. Ms. Farid complained that such a form was for

absences, not tardiness, and that she had tried several times to figure out where her

training was going to be located. She refused to sign the form and filed a

grievance and EEO complaint, which was settled. See ECF No. 27-13.

        Ms. Farid alleges that she was passed over in the seniority matrix several

times when routes were given out. The specifics of these incidents are unclear.

        January-February 2011. On one day, coworker Josephine Davis was

parked in Ms. Farid’s spot. Ms. Farid parked behind her. Mr. Jones asked Ms.

Farid to move her car. Ms. Farid asked Mr. Jones and Ms. Davis to wait five

minutes. Mr. Jones asked her to move her car immediately. As she did, Ms. Farid

says that Ms. Davis was taunting her and Mr. Jones was nodding with approval.

Ms. Farid complained and wrote a letter complaining that management was

encouraging violent and hostile behavior in the workplace. See ECF No. 24-5.

She accused Mr. Jones of yelling at her and humiliating her in front of others.




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        Apparently, Ms. Farid also parked behind another employee in February.

Afterward, Mr. Jones gave Ms. Farid a letter of warning, which she claims was

harassment and unfair. The letter of warning said Ms. Farid parked behind cars of

other employees not once, but twice, and after Mr. Jones explicitly told her not to

do so. See ECF No. 24-1.

        April 2011. Ms. Farid began working Route 26. Route 26 involves

delivering the mail six days a week. The sixth day may be a “relief day.” Ms.

Farid wanted to work the relief day as well. Instead, Mr. Jones gave the relief day

to Nick Robinson, an African American coworker. Ms. Farid complained that this

was favoritism and discrimination against her.

        But uncontested testimony shows that management can block a carrier from

working a relief day, even on her own route, if working that day would put the

carrier over her allotted hours, into overtime. See ECF No. 27-27 at 47-56. This is

governed by the union contract. It is unclear whether denying Ms. Farid relief

days was proper under the contract. There is no evidence of any connection

between this and Ms. Farid’s race, national origin, medical condition, or

complaints about discrimination.

        May 2011. Ms. Farid filed another EEO charge on May 18, 2011. She

claimed that Mr. Jones discriminated against her due to her race and national origin

and retaliated against her. Specifically, she claimed that: (1) Mr. Jones cheated her



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in her paychecks and lost one of her time cards; (2) Mr. Jones replaced her with his

favorite substitute carrier instead of following the seniority matrix; (3) Mr. Jones

paid the hours she worked to other employees; (4) Mr. Jones gave her the letter of

warning for no reason; (5) Mr. Jones mistreated and humiliated her; and (6) the

errors in her pay checks ruined her credit. See ECF No. 27-10.

        July 2011. Ms. Farid became upset that a supervisor gave her a formal

discussion on July 12, 2011. Apparently, the supervisor had received a phone

complaint that Ms. Farid had pushed a customer’s trash cans with her mail truck,

had misdelivered mail, and was rude to a customer while on delivery. Ms. Farid

wrote a letter to the acting manager of the station. See ECF No. 26-20. She

alleged that the supervisor’s formal discussion with her was harassment and

discrimination against her and that the Postal Service management was working to

get rid of her. But no admissible evidence contradicts the supervisor’s assertion

that a customer complained.

        August 2011. Ms. Farid had been working Route 26 since April 2011. A

bid was held on Route 81. Ms. Farid testified that supervisor Peggy Senor told her

that if she did not bid on Route 81, she would lose her seniority. Ms. Senor denies

that she told Ms. Farid that she had to bid on Route 81. See ECF No. 22-13 at 2.

        Ms. Farid bid on Route 81. After the bid, Ms. Farid realized that Route 81

was half the hours she had been working on Route 26 and that she did not need to



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bid on Route 81 to keep her seniority or benefits. On August 31, 2011, Ms. Farid

wrote Ms. Senor a letter asking to stay on Route 26 and to relinquish Route 81.

The letter states that Ms. Farid had called Ms. Senor several times and left

messages for her before the bid that she was “trying to understand my benefits and

the working hours” for Route 81. ECF No. 26-21. Ms. Farid also apologized for

the inconvenience. Ms. Farid did not accuse Ms. Senor of telling her that she had

to bid on the route or lose her seniority in the letter.

        September 2011. Route 26 was noticed for rebid. Ms. Farid wanted to bid

on Route 26, but Ms. Senor would not let her. Ms. Farid testified that union

executive David Heather told Ms. Farid that she had a right to Route 26 and could

get it back by giving Ms. Senor written notice. Mr. Heather, however, emailed Ms.

Farid on September 5, 2011, telling her that she would not be allowed to get her

old route back because she relinquished it for Route 81. See ECF No. 29-1 at 4-5.

        November 2011. Ms. Farid received an abnormally large paycheck. She

testified that she believed that it was because the Postal Service was finally paying

her what she had been owed. In reality, the Postal Service accidentally overpaid

her thousands of dollars. She testified that she spoke with a supervisor about it in

November 2011, but that supervisor told her not to do anything.

        Ms. Farid met with the acting Postmaster to try to resolve her longstanding

complaint that her supervisors were routinely underpaying her. She was told that



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she could access her pay records to compare her timesheets with her paychecks.

Ms. Farid testified that she was given the runaround, was unable to find the

documents that she needed, and that several supervisors told her they were all too

busy to help her.

        February 2012. Ms. Farid testified that she emailed the Postmaster about

the overpayment. The email is not in the record. She also testified that she was

trading emails with another supervisor about the overpayment.

        June-August 2012. At some point, Ms. Farid began receiving calls from

collections about the money she owed the Postal Service. The Postal Service

asked Ms. Farid to repay $2,169.47 in a letter of demand. See ECF No. 26-13.

This letter of demand was dated June 20, 2012. Ms. Farid says she received it on

July 26, 2012. Ms. Farid also complained that Ms. Senor accused her of

defrauding the Postal Service.

        Ms. Farid testified that she filed a grievance on July 26, 2012, to resolve the

overpayment issue. See ECF No. 25-1. Ms. Farid was concerned that she was

being asked to return money on which she had already paid taxes. The Postmaster

General asserts that Ms. Farid did not timely file a grievance on the overpayment

after receiving the letter of demand.

        December 2012. Ms. Farid filed another EEO complaint on December 22,

2012. She complained that two of her supervisors were discriminating against her



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based on race and national origin and retaliating against her. She complained that

(1) Ms. Senor mishandled the overpayment issue and the issue was still pending;

and (2) supervisor Paris Jones allowed another employee to make overtime while

Ms. Farid was available to work. See ECF No. 27-11.

        On December 3, 2012, Ms. Farid filed this lawsuit.

        July 2013. On July 19, 2013, the parties settled the grievance by reducing

the $2,169.47 owed to $1,084.74. See ECF No. 27-31. Ms. Farid apparently had

repaid the Postal Service $40 by the time the grievance was settled.

        On one day Ms. Farid was sorting the mail. She left her area to help another

employee. A district-office employee conducting an inspection saw that Ms. Farid

had stacked a number of periodicals to the side. The inspector wrote a report that

Ms. Farid was hiding mail and not delivering it. Ms. Farid testified that she told

the inspector that she was not finished delivering mail for that day and that she

delivered the periodicals after their conversation.

        The next day, Ms. Farid was verbally reprimanded in front of a group of

employees about the fact that she was hiding mail. A supervisor told Ms. Farid

that as a rural carrier, she could be terminated more easily than a regular carrier.

The supervisor also told Ms. Farid that the supervisor was given a low score

following the district employee’s inspection, and that the supervisor was going to

take Ms. Farid with her when she got in trouble for it. Ms. Farid wrote a letter (it



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is unclear to whom) about how she was treated that day. See ECF. No. 26-12. Ms.

Farid also filed a grievance. See ECF No. 25-2. And she may have filed an EEO

charge as well. See ECF No. 22-1 at 43 (page 167).

        On July 29, 2013, Ms. Farid filed her amended complaint. See ECF No. 12.

                                          IV

        Ms. Farid has proffered no direct evidence of discrimination or retaliation.

When an employee relies on circumstantial evidence in support of a claim, the

employee may proceed under the familiar burden-shifting framework set out in

McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973), and later cases. Under

that framework, an employee first must present a prima facie case. The employer

then must proffer a legitimate nondiscriminatory reason for its decision. The

employee then must show that the proffered reason was not the real reason for the

decision and that instead a reason was discrimination. Alternatively, the employee

may present other evidence from which a reasonable factfinder could infer

prohibited discrimination. See, e.g., Smith v. Lockheed-Martin Corp., 644 F.3d

1321, 1328 (11th Cir. 2011).

        Ms. Farid’s shotgun approach makes it difficult to apply the burden-shifting

framework. She says she was underpaid, but she does not say when or why; she

stonewalled my effort to sort this out. She asserts petty slights—having to check

the locks on doors and windows, or not having a witness listed on an incident



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report—but those plainly do not rise to the level of a Title VII or ADA violation.

She says she was not promoted, but she does not say to what position or when, or

who got the job, and again she stonewalled my effort to sort this out.

        The bottom line is this. Ms. Farid has not made out a prima facie case of

discrimination or retaliation. Ms. Farid has not overcome the Postal Service’s

legitimate, nondiscriminatory explanation for any underpayment: that any

underpayment was simply a mistake that could and would be remedied upon

submission of information showing the mistake. Ms. Farid has not overcome the

Postal Service’s legitimate, nondiscriminatory explanation for promotions: that it

was following the union contract, awarding routes to the bidder entitled to the

route under the contract. And most importantly, Ms. Farid has not presented any

evidence that she suffered any mistreatment at all based on her race, national

origin, or medical condition, or in retaliation for complaining about discrimination

on these grounds.

                                          V

        For these reasons,

        IT IS ORDERED:

        1.       The Postmaster General’s summary-judgment motion, ECF No. 22, is

granted.




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        2.       The clerk must enter judgment stating, “The plaintiff Hala Farid’s

claims against the defendant Patrick R. Donahoe in his official capacity as

Postmaster General of the United States Postal Service are dismissed with

prejudice.”

        3.       The clerk must close the file.

        SO ORDERED on January 5, 2015.

                                           s/Robert L. Hinkle
                                           United States District Judge




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